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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:

    STEWARD HEALTH CARE SYSTEM LLC,                              Chapter 11
    et al., 1
                                                                 Case No. 24-90213 (CML)
                             Debtors.
                                                                 (Jointly Administered)



        FIRST REPORT OF SUZANNE KOENIG, AS PATIENT CARE OMBUDSMAN,
        FOR THE HOSPITALS AND FACILITIES LOCATED IN MASSACHUSETTS,
         OHIO, PENNSYLVANIA, AND THE MIAMI-DADE FLORIDA LOCATIONS

             In accordance with section 333(b)(2) of title 11 of the United States Code, 11 U.S.C. §§ 101

et seq. (the “Bankruptcy Code”), Suzanne Koenig, solely in her capacity as the Patient Care

Ombudsman (the “Ombudsman”) for the hospitals and facilities located in Massachusetts, Ohio,

and Pennsylvania as well as the Miami-Dade Florida Locations, 2 that are part of the chapter 11

cases of the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”),

respectfully submits this report (the “Report”) on the quality of patient care for the period from

the appointment of the Ombudsman on May 20, 2024 through and including the date hereof, July

22, 2024 (the “Report Period”).




1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
      and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these chapter
      11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.
2
      The “Miami-Dade Florida Locations” collectively refers to the Coral Gables Hospital located in Coral Gables,
      Florida; the Hialeah Hospital and the Palmetto General Hospital located in Hialeah, Florida; and the North Shore
      Medical Center located in Miami, Florida.


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I.      INTRODUCTION

        A.      Overview of a Patient Care Ombudsman

        1.      The role of a patient care ombudsman is to “monitor the quality of patient care and

to represent the interests of patients” in the bankruptcy of a health care business. 11 U.S.C.

§ 333(a)(1).   Under section 333(b) of the Bankruptcy Code, the duties of the patient care

ombudsman include:

                (1)    monitor the quality of patient care provided to patients of the
                       debtor, to the extent necessary under the circumstances,
                       including interviewing patients and physicians;

                (2)    not later than 60 days after the date of appointment, and not
                       less frequently than at 60-day intervals thereafter, report to
                       the court after notice to the parties in interest, at a hearing or
                       in writing, regarding the quality of patient care provided to
                       patients of the debtor; and

                (3)    if such ombudsman determines that the quality of patient
                       care provided to patients of the debtor is declining
                       significantly or is otherwise being materially compromised,
                       file with the court a motion or a written report, with notice
                       to the parties in interest immediately upon making such
                       determination.

11 U.S.C. § 333(b). “[T]he primary duties of an ombudsman are to monitor ongoing patient

care . . . .” In re Banes, 355 B.R. 532, 536 (Bankr. M.D.N.C. 2006) (emphasis added); see also In

re Renaissance Hospital-Grand Prairie, Inc., 2008 WL 5746904, at *2 (Bankr. N.D. Tex. Dec. 31,

2008) (“[A patient care ombudsman’s] very job is to ensure that his constituents—patients—are

well cared for by the debtor in possession (or trustee).”). A patient care ombudsman is concerned

only with the current and prospective care of patients during a chapter 11 case. Accordingly, this

Report does not review past actions or inactions by the Debtors with respect to patient care. Instead,

the Report focuses on the care being provided to the patients by the Debtors during these

bankruptcy cases.


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        B.      The Ombudsman’s Appointment

        2.      On the Petition Date (as defined herein), the Court ordered the United States

Trustee to appoint a patient care ombudsman pursuant to section 333 of the Bankruptcy Code. See

docket entry at Docket No. 1. On May 20, 2024, the United States Trustee appointed the

Ombudsman for the hospitals and healthcare facilities located in Massachusetts, Ohio, and

Pennsylvania, and the Miami-Dade Florida Locations. See Notice of Appointment of Patient Care

Ombudsman Covering Massachusetts, Ohio, Pennsylvania, and Miami-Dade Florida Locations

Under 11 U.S.C. § 333 [Docket No. 311] (the “Appointment Notice”). As set forth in section

333(a)(1) of the Bankruptcy Code and the Appointment Notice, the Ombudsman was appointed

to, inter alia, monitor the quality of patient care provided to the Debtors’ patients at their hospitals

and facilities located in Massachusetts, Ohio, and Pennsylvania, and the Miami-Dade Florida

Locations.

        3.      On June 18, 2024, the Ombudsman filed applications to retain the law firm of

Greenberg Traurig, LLP as her counsel and SAK Management Services, LLC d/b/a SAK

Healthcare (“SAK”) as her medical operations advisor [Docket Nos. 891 and 892, respectively]

(collectively, the “Applications”). On July 11, 2024, the Court entered orders granting the

Applications [Docket Nos. 1561 and 1562, respectively].

        C.      Status of the Debtors’ Operations Upon Appointment of the Ombudsman

        4.      On May 6, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the Southern District of Texas (the “Court”).

        5.      As reported in the Declaration of John R. Castellano in Support of Debtors’

Chapter 11 Petitions and First-Day Pleadings [Docket No. 38] (the “First Day Declaration”),



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the Debtors operate a national, integrated healthcare network across ten states, comprised of

thirty-one hospitals and over four hundred facility locations (including physician practice offices,

ambulatory surgical centers, and diagnostic imaging centers). Id. at ¶ 7. As of the Petition Date,

the Debtors employed a workforce of approximately 30,000 (including over 4,500 primary and

specialty care physicians, 9,100 nurses and nurse practitioners, and 9,200 other skilled healthcare

workers). Id. at ¶¶ 7, 12. Historically, the Debtors provide care to more than two million patients

annually. Id. at ¶ 7.

        6.       The Debtors initiated a sale process for all of the hospitals. The deadline for

potential purchasers to submit a bid for the First Round Hospitals 3 and the Extended First Round

Hospitals 4 expired on June 24, 2024 and July 15, 2024, respectively. According to the Notice of

(I) Cancellation of Certain Auctions and Sale Hearings, (II) Designation of Successful Bids,

(III) Proposed Sale Orders, and (IV) Scheduling of Sale Hearing with Respect to (A) Wadley

Regional Medical Center at Hope and (B) Glenwood Regional Medical Center [Docket No. 1645],

the Debtors did not receive a Qualified Bid (as defined in the Bidding Procedures Order) for the

Hospitals (as defined herein) in Ohio and Pennsylvania and, as such, cancelled the auction with

respect thereto. The Debtors are presently evaluating alternatives with respect to these locations

and will make a further announcement about their course of action at a later date. See id. The

deadline for potential purchasers to submit a bid for the Second Round Hospitals (including the

Miami-Dade Florida Locations) is August 12, 2024, at 5:00 p.m. (prevailing Central Time).


3
    The terms “First Round Hospitals” and “Second Round Hospitals” shall have the same meanings as ascribed
    to them in the Order (I) Approving (A) Global Bidding Procedures for Sales of the Debtors’ Assets, (B) Form and
    Manner of Notice of Sales, Auctions, and Sale Hearings, and (C) Assumption and Assignment Procedures and
    Form and Manner of Notice of Assumption and Assignment; (II) Authorizing Designation of Stalking Horse
    Bidders; (III) Scheduling Auctions and Sale Hearings; and (IV) Granting Related Relief [Docket No. 626] (the
    “Bidding Procedures Order”).
4
    The term “Extended First Round Hospitals” has the same meaning as ascribed to it in the Notice of Extension
    of Certain Deadlines and Dates Under the Bidding Procedures Order [Docket No. 895]

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II.        SUMMARY OF THE OMBUDSMAN’S MONITORING AND OBSERVATIONS

           7.      The following summarizes the Ombudsman’s observations during the Report

Period. Any observations regarding the hospitals and facilities are based upon the visits referenced

below and observations and interviews conducted during those visits as well as interviews and

electronic mail communication conducted remotely with staff of the respective hospitals and

facilities.

           A.      Executive Summary

           8.      The hospitals and facilities included in this Report are as follows (each a “Hospital,”

and collectively, the “Hospitals”): 5

    Exhibit               Debtor                    Facility Name                      Address
                Steward St. Elizabeth’s
                                             St. Elizabeth’s Medical 736 Cambridge St.
      A         Medical Center of Boston,
                                             Center                  Brighton, MA 02135
                Inc.
                Steward Holy Family          Holy Family Hospital –          140 Lincoln Ave.
      B
                Hospital, Inc.               Haverhill                       Haverhill, MA 01830
                Steward Holy Family          Holy Family Hospital –          70 East St.
      C
                Hospital, Inc.               Methuen                         Methuen, MA 01844
                Steward Good Samaritan       Good Samaritan Medical          235 N. Pearl St.
      D
                Medical Center, Inc.         Center                          Brockton, MA 02301
                Nashoba Valley Medical
                                             Nashoba Valley Medical 200 Groton Rd.
      E         Center, A Steward Family
                                             Center                 Ayer, MA 01432
                Hospital, Inc.
                Morton      Hospital,   A
                                                                             88 Washington St.
      F         Steward Family Hospital,     Morton Hospital
                                                                             Taunton, MA 02780
                Inc.
                Steward      St.   Anne’s                                    795 Middle St.
      G                                      Saint Anne’s Hospital
                Hospital Corporation                                         Fall River, MA 02721
                Steward Carney Hospital,                                     2100 Dorchester Ave.
      H                                      Carney Hospital
                Inc.                                                         Dorchester, MA 02124
                Steward           Hillside
                                             Hillside      Rehabilitation 8747 Squires Ln. NE
       I        Rehabilitation Hospital,
                                             Hospital                     Warren, OH 44484
                Inc.
                Steward          Trumbull    Trumbull       Regional 1350 E. Market St.
       J
                Memorial Hospital, Inc.      Medical Center          Warren, OH 44482

5
      Norwood Hospital, formerly located at 800 Washington Street, Norwood, Massachusetts 02062, permanently
      closed before the Petition Date. Accordingly, Norwood Hospital is not included in this Report.

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 Exhibit               Debtor              Facility Name                     Address
              Steward Sharon Regional                               740 E. State St.
    K                                 Sharon Regional
              Health System, Inc.                                   Sharon, PA 16146
                                                                    2001 W. 68 St.
    L         Steward PGH, Inc.           Palmetto General Hospital
                                                                    Hialeah, FL 33016
                                          North Shore Medical 1100 N.W. 95th St.
    M         Steward NSMC, Inc.
                                          Center                    Miami, FL 33150
                                                                    3100 Douglas Rd.
    N         Steward CGH, Inc.           Coral Gables Hospital
                                                                    Coral Gables, FL 33134
                                                                    651 E. 25th St.
    O         Steward HH, Inc.            Hialeah Hospital
                                                                    Hialeah, FL 33013

        9.       As described in further detail below, an individual report for each Hospital visited

during this Report Period has been prepared and will be filed as Exhibits to this Report as reflected

in the above chart. Given the number of Hospitals and the length of each individual Report, those

individual reports may be filed with the Court on July 23, 2024.

        B.       Methodology

        10.      Due to the number of Hospitals operated by the Debtors, the Ombudsman

developed a standardized methodology to ensure consistency in reporting among the

Ombudsman’s representatives visiting each location. Prior to the first visit, the Ombudsman

developed materials to ensure consistency with respect to representatives’ work under the statutory

requirements of section 333 of the Bankruptcy Code, appropriate procedures for interviewing the

professional staff and patients, and reiteration of privacy requirements mandated under the Health

Insurance Portability and Accountability Act (“HIPAA”) as they apply to the Hospitals. The

Ombudsman also created question guidelines and checklists to encompass the full scope of

potential patient care concerns. The Ombudsman also determined the key areas and departments

of each Hospital to be visited given their importance to patient care.

        11.      Each site visit included the Ombudsman and one SAK representative, who was a

nurse by training. The visits to each Hospital ranged from approximately four to eight hours in



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length depending upon the size and complexity of the Hospital. During each visit, the Ombudsman

and her representative met with the relevant Hospital’s leadership team, conducted a walk-through

tour of each Hospital and its buildings, and interviewed key professional staff and patients where

possible. The Ombudsman and her representatives also requested and reviewed Hospital records

as part of this assessment process. Generally, the Ombudsman and her representative visited each

Hospital once during the Report Period with the Ombudsman and her representative conducting a

few unannounced follow-up visits to the Hospitals in Massachusetts, as will be noted in the

individual reports.

        12.     Throughout the Report Period, the Ombudsman and her representatives have

sought and obtained information from, and had open lines of communication with, the Debtors.

For example, the Ombudsman receives regular staffing reports for the Hospitals and equipment

repair updates from the Debtors’ Hospitals.

        13.     The Ombudsman also has an open line of communication with the Commonwealth

of Massachusetts, the Massachusetts Department of Health and their attorneys. As this Court is

aware, the Commonwealth of Massachusetts is carefully monitoring these cases and has

representatives on site at the Massachusetts Hospitals on a daily basis. Therefore, the Ombudsman,

who may only visit the Hospitals once during each Report Period, appreciates the Commonwealth

of Massachusetts’s willingness to share reports and other information regarding the Massachusetts

Hospitals.

        14.     The Ombudsman has also had discussions with counsel to the Official Committee

of Unsecured Creditors, the United States Trustee, certain accreditation agencies, and certain

unions for the Massachusetts Hospitals.




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        15.     The Ombudsman appreciates the cooperation and collaboration of all parties in

interest in these cases to assist the Ombudsman in reviewing patient care.

        C.      Overall Impressions

        16.     While the individual Hospital Reports will provide a detailed analysis of each

Hospital and patient care at those Hospitals, the Ombudsman did not observe any material issues

impacting patient care requiring this Court’s immediate attention. The Ombudsman did observe

certain areas in which the Hospitals could improve the patient care experience and has discussed

these issues with the Debtors.     Below is a general summary of the Ombudsman’s overall

impressions of care at the Hospitals and areas in which improvement can and has been made during

the Report Period:

                •      Although staffing across various positions at certain Hospitals has proved

                       challenging, the Ombudsman did not observe any issues that made her

                       believe patients were in immediate danger or otherwise receiving unsafe

                       care due to staffing issues. The Debtors are actively recruiting and filling

                       vacant shifts with overtime, in-house travelers, and bonuses. The Debtors’

                       staff are generally demonstrating a strong commitment to quality care. The

                       Debtors’ staffing levels appear to be sufficient based on the reporting

                       provided to the Ombudsman throughout this Report Period.

                •      The Debtors have an engaged leadership team dedicated to providing

                       excellent patient care and outcomes in the communities they serve through

                       the Hospitals.     The Debtors’ leadership is dedicated to making

                       improvements. However, the leadership team is spread thin, with certain

                       individuals providing oversight across multiple Hospitals.



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                •    The Ombudsman did not find any concerns related to procurement of

                     adequate supplies, such as food and medical supplies, among other

                     necessary items. The Hospitals have endeavored to cooperate with each

                     other to share supplies as needed to prevent shortages. Based on the

                     Ombudsman’s observations during each of the visits, the supply rooms

                     appeared to be stocked with enough supplies to provide safe patient care.

                •    Generally, each of the Hospitals are in need of repairs and new or repaired

                     equipment.     Predominantly, the non-functioning equipment included

                     various kitchen equipment, elevators, endoscopy scopes, and hospital

                     chillers. The Debtors’ leadership has implemented adequate temporary

                     solutions, including the use of rental equipment, while permanent fixes are

                     sought. Often, the Debtors’ staff must wait on the provision of funds to fix

                     or replace the broken equipment, as many vendors are demanding

                     prepayment, cash on delivery, or are unwilling to provide the services.

                     However, the Ombudsman has observed improvement since her

                     appointment.     Specifically, several non-functioning elevators at St.

                     Elizabeth have been brought back into full working order. The Debtors’

                     leadership team appears highly engaged and attentive to the urgency of

                     returning the Hospitals’ broken equipment (including the elevators) to

                     functioning status. While the broken equipment is an ongoing issue that the

                     Debtors must continue to fully resolve, the Ombudsman does not believe

                     the security, safety, or care of the Hospitals’ patients are presently at risk.




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                     The Hospital staff has been adept at problem solving while waiting for new

                     equipment or repairs to be completed.

                •    Certain of the Hospitals’ kitchens were cluttered, unorganized, and dirty.

                     After calling the physical state of certain kitchens to the attention of the

                     relevant Hospital’s leadership, a corrective action plan was quickly

                     implemented. The Ombudsman observed significant improvement in the

                     kitchens that required attention, noting they were promptly deep cleaned

                     (often by a third-party professional) and were now clean and organized.

                     Relatedly, the Ombudsman observed chaotic work processes occurring

                     across certain kitchens, such as poor flow with the meal prep line, failure to

                     label food with expiration dates, and failure to take food temperatures and

                     document them in accordance with the Debtors’ policy. However, the

                     Debtors’ management has implemented corrective solutions that have

                     greatly improved meal prep and service overall and brought the processes

                     into compliance with the Debtors’ policies.

                •    Certain furniture and infrastructure showed signs of age. For example,

                     certain furniture was old and worn, various areas of paint were chipped,

                     laminate was peeling on various countertops, and limited flooring needed

                     to be replaced due to either being a tripping hazard or soiled.          The

                     Ombudsman did not observe any significant signs of water damage or

                     intrusion.

                •    The patient census at many of the Hospitals has declined and appears to be

                     partly related to negative press concerning the Debtors’ Hospitals and these



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                       bankruptcy cases. The Ombudsman observed staff committed to providing

                       excellent care to the patients and urges all parties in interest and the

                       communities to continue supporting these Hospitals, many of which are

                       critical to their localities.

III.    OMBUDSMAN’S MONITORING AND OBSERVATIONS BY HOSPITAL

        17.     The Ombudsman has detailed Reports on each of the Hospitals visited and assessed.

Each Report includes observations of patient care with commentary about one or more areas of

assessment, including an overview of each Hospital, regulatory compliance, patient interviews,

risk management, medical records, infection control and protocols, emergency preparedness,

discharge review, vendor relationships, maintenance, and environmental services.

IV.     CONCLUSION

        18.     The Ombudsman has made her best efforts, within the time constraints, to conduct

a comprehensive investigation of the quality of patient care at the Debtors’ Hospitals. The

Ombudsman is available to address any issues with this Court or other parties in interest. The

Ombudsman will submit her next report within sixty days and will inform the Court if there are

any critical concerns discovered prior to that time, as necessary.

Dated: July 22, 2024

                                        SUZANNE KOENIG, AS COURT
                                        APPOINTED PATIENT CARE OMBUDSMAN


                                        By: /s/ Suzanne A. Koenig
                                           Suzanne A. Koenig, solely in her capacity
                                           as Patient Care Ombudsman




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